Case 1:15 -pye Sitsctor of Libraty Sexwices Will didsety mionitor ERTS use? Lack ifonth, she will
forward a list of those with unusually high LEXIS usage to the Administrative Assistant District
Attorney. You may be called upon to account for the time and money you spend on LEXIS. In cases
of abuse of LEXIS service and in instances of use for personal matters, you will be required to

reimburse the office.

Sharing of LEXIS passwords is prohibited.

11.12 Mail Services

Messengers pick up mail for delivery inter-office and mail for delivery outside the office,
twice a day from each bureau or unit.

Under limited circumstances, with the approval of your bureau chief, you may, through the
— mail room, arrange for express mail service, other specialized mail services, or delivery by
messenger, The mailroom is open from 7:30 a.m. to 5:30 p.m. Mail and Federal Express go out at

4:30 PM.

11.13 Maintenance Requests

To report a maintenance problem with any building system such as plumbing, electrical, or
elevators, send an e-mail addressed to Operations.

11.14 Office Equipment

> Fax Machines: Each bureau has a fax machine to send and receive business-related material to
others outside of the office as well as inside the office. If you are experiencing a problem with
your fax machine, notify your bureau administrator or e-mail Operations.

» Copiers, Shredders, Typewriters, Microfiche Equipment: To report a problem, notify your
bureau administrator or e-mail Operations.

> Data Collection Devices (DCD): To report a problem with your DCD, notify your burea:
administrator or e-mail Operations and Payroll Services.
11.15 Office Moves

Your bureau administrator or supervisor will coordinate with Operations all office moves.
including relocating your telephone number and scheduling the move.

The only office furniture you may take with you when you move are the file cabinets with
your files. All other office furniture and personal computers will not be moved from office to office
when the occupants change.

64

 

 
 

VAG Office Sates

A number of bureaus have safes for Storage of evidence that has bee.
New York City Police Department’ Property Clerk's Office and is needed ones em of
continued proceeding. Space in office safes is limited. Once your court proceeding is complete you
must make arrangements to have the evidence returned to the Property Clerk’s Office. If the
"Property was obtained from Pearson Place, see Section 11.19 for how to arrange for the return of the
property. Any evidence that was stored for trial must be removed within a month of the trial’s
completion.

In addition, the office has a central safe located in room 732. To put property in the safe,
contact the Records Department (Ext. 9594). The hours of operation are 9:00 a.m. - 5:00 p.m.

Ifit is necessary to have controlled substances or marihuana evidence available for a court
proceeding, such evidence should be in the custody of a police officer, except when it is necessary to
have this evidence in court. No controlled substances are permitted to be stored in office safes.
All such evidence must be returned to the Property Clerk's Office when it is no longer needed in
court that day. if the Property Clerk's Office is closed and not available to accept the controlled
substance or marijuana evidence, it should be taken to the Fifth Precinct, or if that is not possible, the
Police Laboratory/Evidence Desk (180-14 Jamaica Avenue, Jamaica, NY, Tel. No. 718-558-88 12)
by a police officer assigned to your case to be secured there.

11.17 Office Supplies

Your bureau or work unit maintains an inventory of file folders, writing pads, pens, and other
office supplies. Every month, the bureau secretary or administrator reorders supplies from
Purchasing. If you need a particular item, advise the person in your bureau who has the responsibility
for maintaining the bureau inventory of office supplies so that it can be included in the monthly
order. If you have a special request or need a supply before the monthly delivery, notify your bureau

administrator.

11.18 Office Vehicles

All vehicles owned or leased by the New York County District Attorney’s Office (DANY)
used by DANY employees, or persons from other agencies working with DANY, must adhere to the
policies and guidelines outlined below. Similarly, all employees using personal vehicles for official

office business, must adhere to the relevant provisions below.

i ions for Use of a DANY Vehicle: Every person who drives a vehicle owned or
- ewe by DANY , or who drives a personal vehicle on DANY official business must have a
current valid driver’s license issued by New York or another state in the Us. No one is
authorized to drive a DANY vehicle or a personally owned vehicle for DANY activities if the
driver has been found guilty of any offense involving the operation of a motor vehicle; has a
charge pending involving the operation of a motor vehicle; or is currently charged or has been
found guilty of using a motor vehicle in the commission of a crime. Additionally, DANY a
deem a person unqualified to drive a DANY vehicle if the person seeking to operate the vehicle

65

 

 

 
Case 1:15-cv-04399-GBD-HBP Document 1-5 Filed 06/08/15 Page 3 of 20

has a driving record, or a workplace performance which raises concerns that the driver will net
safely or lawfully operate the DANY vehicle.

Authorization: DANY employees who are assigned a vehicle for an extended period,
including for commutation, may be assigned a vehicle only with the authorizations outlined
below:

e Members of the Investigation Bureau (including all Rackets Investigators) must seek
approval from the Chief of the Investigations Bureau;

e Members of the District Attorney’s Office Squad (DAOS) must seek approval from
the Commanding Officer of the DAOS;

© Members of DANY staff who are not in the Investigations Burean must seek
approval from the Executive Assistant District Attorney for Finance and
Administration; Chief Assistant District Attorney, or the Deputy Administrative
District Attorney.

Further guidelines for the extended use of a DANY vehicle are available separately.

Va

Appropriate Vehicle Use: DANY vehicles are only to be used in conducting the business of the
Office of the District Attorney. No DANY employee, other than those listed above, have the
authority to authorize a person to operate a DANY vehicle. No other DANY employee, or
member of the Investigations Bureau, or member of the DAOS, or any member of another
agency working in conjunction with DANY may grant permission to another to use a DANY
vehicle for any purpose.

Commuting: Those authorized to commute using DANY vehicles can use the vehicle
assigned to them to commute between the location they have been assigned to work and
their homes. The vehicles cannot be used for any tasks unrelated to their official duties.
Employees assigned vehicles must surrender the vehicle while on any type of leave longer
than two days.

Repair and Maintenance: Except in emergency repair situations, drivers of DANY vehicles
must notify the fleet manager when an assigned vehicle needs repair. This information should
include vehicle number, location, and type of repair required. The fleet manager will direct the
driver to the appropriate repair facility.

Accident Reporting: Any drivers ofa DANY vehicle involved in any traffic accident resulting
in any damage to property, or injury to themselves or to others, must promptly notify the driver’s
immediate supervisor and the fleet manager so that the required investigation and reports may be
completed by assigned personnel. Details of the procedures for filing such reports are available
separately. You must also comply with notification requirements in Section 2.7 of this

Handbook.

In all cases, compliance with appropriate state and municipal law is required.

>

Costs: E-Z Pass devices provided by DANY in DANY vehicles may not be used when the |

 

 
Case 1:15-cv-04399-GBD-HBP Document 1-5 Filed 06/08/15 Page 4 of 20
   

Case 1:15-cv-04399-GBD-HB

driver is commuting, DANY E-7, Pass devices are to be used only when the driver is in the
process of conducting official business. E-Z Pass devices will be revoked for infractions such as
inappropriate use, excessive speed, or reckless driving through toll plazas.

> Summonses: The office will not reimburse you for traffic violations or parking suramonses that
yon receive operating an affice car or your personal car while conducting office business or an
office vehicle. However, if you qualify, the office will submit your request for a dismissal based

on the official busines i : .
oe cction 10.12. s exception. For further information on the procedure to be followed, refer

11.19 Open and Closed Cases

> Open Cases: The Open Case Unit (Rm. 732, Ext. 9888) maintains copies of all open
misdemeanor and unindicted felony cases to be used in the court parts and by various prosecution

support units.

> Closed Cases: The Records Department (Rm. 821, Ext. 9594) maintains a central repository for
all closed cases. Misdemeanor cases and bench warrants are stored on either microfilm or CD
Roms. Indictments are stored in their original jackets on shelves. To retrieve a closed case, send
an e-mail addressed to "Records," ar call the Records Department. The department maintains a
record of all cases relinquished to the department and will make available any case file that is in

its custody. In situations where the case was not sent to Records, they will make further efforts

to locate the case by checking with other areas of the office that might have the file, such as the
Appeals Bureau or the bureau where the assistant district atiorney who handled the case was

assigned.

Staff are required to relinquish closed cases after work has been completed on the closed case.
Centralized storage of closed cases helps to alleviate overcrowding in offices. In addition, if
other assistant district attorneys need access to 4 closed case, it is helpful for them to have a
central location for retrieval of a case, especially when you are unavailable to respond to their

request.

To arrange for the relinquishment of closed cases, contact the Records Department.

11.20 Pearson Place Evidence Pick-up and Delivery Service

The Records Department (Rm. 821, Ext. 9594) of our office will pick up property held by the
New York City Police Department at Pearson Place for you on request. The pick-up of property will
be carried out according to the schedule and procedures outlined below:

a7
Case 1:15-cv-04399-GBD-HBP Document 1-5 Filed 06/08/15 Page 6 of 20

 

 

 

 

 

 

DAY PROPERTY DEADLINE FOR SUBMITTING RECORDS
WILL BE NEEDED REQUESTS TO RECORDS WILL HAVE
BY ADA PROPERTY AVAT
. or

Monday Thursday: 4:00 P.M. Friday: 2:00 P.M.
Tuesday Friday: 4:00 P.M. - | Monday: 2:00PM
Wednesday Friday: 4:00 P.M. Monday: 2:00PM
Thursday Tuesday: 4:00 P.M. Wednesday: 2:00 P.4
Friday Tuesday: 4:00 PM. Wednesday: 2:00 P.S

 

 

 

 

’ You must submit a subpoena addressed to the Police Department for the required property &
Records by the deadline. You should include in the subpoena defendant's name, case number
voucher number, a description of the property, and the storage number (obtainable by calling Polic:
Plaza at 212-374-4925). A copy of the voucher must be attached to the subpoena.

The Records Department will pick up the property from Pearson Place early on Monday
Wednesday, and Friday. Property will be held in the office safe in Room 732 until picked up by you
You will sign for the property on receipt. If the property is not picked up by the end of that workday
it will be officially checked in the safe in Room 732. A copy of the DANY Safe Voucher will bx
sent fo you via interoffice mail,

Chain of custody for the property will be documented by the Records Department.

If you cannot make arrangements consistent with the schedule outlined in this section, yo:
will have to make your own arrangements to get property from Pearson Place.

The Records Department will also arrange for the return of any property that is proper);
identified with the voucher and storage number. All bags of evidence must be resealed and ail item:
on the voucher must be returned at the same time. You or a colleague must be available whe:
Records staff pick up the property.

 

When returning property to Pearson Place seized from a peddler, you must provide a letter &
the property clerk stating the outcome of the case, and indicating whether or not the property can ix
destroyed.

11.21 Reproduction Services

Each bureau has at least one copier. If your copier is in need of repair or needs more papera
other supplies, notify your bureau administrator who will be the liaison with Operations.

If you have a large-scale reproduction project, including for example, manuals, transcripts. ©
briefs, or have a specialized copying job, contact Reproduction (Rm. 822, Ext. 9747). © ee
arrange for copying with a vendor of your own. |

 

e

 

 
 

 

speaking to someone immediately by dialing "0," ,

y Blackberry: The office provides a limite

> Cell Phones: The office pr

 

A122 Telephone Services

Operations is responsible for the office telephone system. Ifyou have any questions relating

tg telephone service, including how to use your PIN, voice mail, or to report problems with your
lephone, you should contact the Communications Unit Ext. 9800).

Long-Distance Calls: The office provides long-distance telephone service principally for business
purposes. You are welcome to use long-distance service for personal transactions, provided you
reimburse the office for those calls. You receive a quarterly statement from the Fiscal Department
listing all long-distance calls made on your PIN. Generally, the list will not reflect local calls. In
an attempt to accommodate your reasonable need to remain in contact with immediate family
members, the office will not seck reimbursement for brief calls to the nearby area codes of 516,

914, 845, 201, 908, 973, and 732. Such calls will therefore, not appear on your bill.

You are responsible for all calls made with your PIN, and therefore, you should not give your PIN
to anyone else to use.

Person-to-Person Calis: If you need to make a person-to-person call, dial your PIN, then dial "7",
and then dial "0."

Repair: You may contact the Communications Unit if you are experiencing problems with your
telephone service.

Voice Mail: The office has installed a voice mail system to allow your callers to leave messages.
In addition, the voice mail system is designed to allow a caller to speak to a secretary in your area
by dialing "0." This feature will allow the public to speak to someone in instances of emergency
or where time is of the essence. You are required to include in your recorded voice mail greeting
instructions for callers on how to access a secretary in the event the caller wishes to speak to

someone immediately.

When you go on vacation, you should change the recorded message to reflect the time periods
when you will be out of the office and give the caller the option of recording a message or
speaking to someone immediately by dialing "0."

LO POTIGOITE MONET aTcy A.

4 vege OG CEE oe Te
or GO OFICC MIC BIOE ME GIIGE ARE SbHon of recording a message or

The voice-mail system is an office system, and you should not assume any right to privacy with
respect to any messages left on the system. The office reserves the right to access your messages if
necessary for a business-related reason or in the case of an emergency.

Tf you need instructions on how to make changes im voice mail messages, you should contact
Operations.

a pumber of blackberries to be used for Dpusiness

purposes. Distribution must be authorized by the bureau chief or support staff manager of your

unit as well as the Executive Assistant District Attorney for Finance and Administration. The
office is entitled to reimbursement from you for personal use that exceeds the limits of the office’s

service plan.

ovides a limited numbet of cell phones to be used for business
purposes You will be provided with an office cell phone only with the authorization of your
69

 
Case 1:15-cv-04399-GBD-HBP Document 1-5 Filed 06/08/15 Page 8 of 20
bureau chief or supervisor. If you are assigned an office cell phone, it is to be used as a business

tool, and any personal use should be limited. The office is entitled to reimbursement from you to
the office for personal use that exceeds the limits of the office’s service plan.

 

11.23 Directory of Units and Phone Numbers

 

Computer User Services ......eeeceecscscesesssessssensrstacsnesnesensnsseesensesacsesesnnensneseenssastnanennaesersnevansentas 9999
Interpreter Services .....c..csessseccseessersesseesrsssessevecsesesssnenrnanscnscesaceeneeseaeeaneaneecnataveuatesgeusseartereoresses 9722
Mail Services Department .. 2... .....2..2. ce cece ces eee tener eae ene e reser cane sane ree ne teenaeeagens 9871
Operations (Rm. 749) oo cecssnssecntaseneaeeseesneney paeeenes baneasersenesense deseeeaneses doseueseneessenseesnerarevsaesaeesaea® 9848
Open Cases (Rm. 732)........:0:cccesneeeeeee eee eees penne et eeceeeespenadeneneneeteeeeees seeteceeeteesenas 9888
Records Department (Rim. 821) 2... eee aaseeeeanene saeetestansuteeeeetsereccsceeceteenserenecesnaeanaeaeeneaanacees 9594
Reproductions and Print Shop (Rm. 822) ...... shenneene devenesesensnene petesserserscedussreeeacaeesseeenereacuvensnseers 747
Spanish Language Unit ...........:cccecsseesseseerernien soeaseenes peseeaqecccesessendeeeeeeaeesaeveneunavecueennenanarsecteee 4232
Telephone Services .....csssscsreseeseseneseees deessevsesavatasencassnenucatanneceescnrcusceseadsceaceevonsesuasceasauaeses esas 9800

 

 

 
   

4399-GBD-HBP Document 1-5 Filed 06/08/15 Page 9 of 20

APPENDIX A: DANY Directory

Introduction

The purpose of this section is to serve as a brief description of the various divisions, bureaus, and
units within the office, legal as well as non-legal.

Executive Staff

The legal executive staff includes the Chief Assistant District Attorney, Executive Assistant District
Attorney for Governmental Affairs and Community Relations, Executive Assistant District Attomey
for Finance and Administration, Counsel to the District Attorney, Deputy Administrative Assistant
District Attorney, Special Assistant District Attorney, and the Chiefs and Deputy Chiefs of the Trial
and Investigation Divisions, The managerial support staff reports to the legal executive staff and has
responsibility for the bureaus and units described below:

> Advisor to the District Attorney on Gay, Lesbian, and Transgender Issues acts as the liaison
to the office and the gay, lesbian, and transgender community as well as acting as an internal
resource for all legal and non-legal units and bureaus of the office on gay, lesbian, and
transgender issues.

>» Community Affairs engages in a wide variety of community information forums, educational
outreach projects, and crime victim advocacy and involves legal staff in those programs. Their
goal is to develop and promote collaborative relationships between the office and community
residents, businesses, schools, and various community groups throughout Manhattan.

> Legal Hiring manages the process for recruiting and hiring all assistant district attorneys, the
Summer Legal Intern Program, and other clinical internships. From August through early spring,
hiring board members interview potential law school graduates both in the office and at over 40
law schools and job fairs across the country. The hiring board also interviews experienced
attorneys throughout the year. In early winter, interns for summer internships are interviewed
and selected.

> Legislative Affairs works under the direction of the Executive Assistant District Attorney for
Governmental Affairs and Community Relations on important legislative initiatives and keeps

track of all proposed legislation that will have an impact on the office.
> The Library offers legal and other types of research services to the entire office.

> The Northern Manhattan Office makes the resources of the office more accessible to the upper
Manhattan community by responding to community concerns, particularly regarding domestic
violence, narcotics trafficking, and consumer fraud, at a site that is convenient to this major
segment of Manhattan’s population. Assistant district attorneys may use the office to conduct
initial interviews with crime victims and witnesses.

> Planning and Management performs a variety of functions designed to support the strategic
and operational management of the office and its resources. Among other tasks, the unit

 

 
‘eige ciara minh tetra gmbh era nett A

Case 1:15-cv-04399-GBD-HBP Document 1-5 Filed 06/08/15 Page 10 of 20

prepares the annual New ‘York City and New York State budget letters which request funding for
new office initiatives; writes grant proposals and provides statistical analyses which measure the
performance of prosecutorial activities; and studies office operations and recommends measures
designed to ensure the most effective and efficient use of office resources and personnel.

> Public Information serves as the point of contact between the news media and our office. The
staff in that unit responds to all media inquiries concerning pending and closed cases, office
policy, and other related matters. In addition, they maintain files of all recent articles from
newspapers and magazines that relate to New York. Requests for information from the media

rust be referred to this unit.

Trial Division

The Trial Division, the largest division in the office, has principal responsibility for prosecuting
misdemeanor and felony street crime Cases. It is comprised of six large trial bureaus as well as 2
number of specialized bureaus and units that target certain types of crimes or have other specialized
responsibilities.

Most assistant district attorneys in the trial bureaus, each of which is named for its relationship to a
particular part in the Supreme Court, are assigned cases after a summary arrest has been made. The
trial bureaus are on intake ona rotating basis. Felony cases and some serious misdemeanor cases are
assigned to an assistant district attorney at the time a complaint is drawn in the Complaint Room; the
majority of misdemeanor cases are assigned after arraignment. The assigned attorney then handles
the case from that point until the final disposition of the case. The type of case that an assistant
district attorney handles is commensurate with his or her level of experience. Junior attorneys begin
by handling misdemeanor cases and then advance to felony cases. The most senior attorneys are
responsible for homicide and other major felony cases. -

Although most cases in the division originate with the summary arrest of the defendant, an increasing
number of assistant district attorneys work on pre-arrest investigations as well. Many of the

specialized units are engaged in this type of investigatory activity.

The six large trial bureaus are staffed by approximately fifty attorneys of varying levels of
experience. In addition to the legal staff, each bureau has a bureau administrator, paralegals, and

secretaries.

There are also a number of smaller units or bureaus in the Trial Division. In some cases, assistant
district attorneys are assigned to those bureaus or units exclusively and only handle the types of cases:
targeted by their unit or bureau. Assistant district attorneys in other units prosecute the cases
targeted by their unit, but are assigned to one of the trial bureaus and handle other types of cases as
well. Below are the smaller units or bureaus and a brief description of their responsibilities:

> The Asian Gang Unit investigates and prosecutes criminal groups that have victimized the
Asian comraunity.

> The Cold Case Unit investigates and prosecutes old, unsolved homicides.

 

 

 
   

 

 

Case 1:15-cv-04399-GBD-

> The Family Violence and Child Abuse Bureau prosccutes and tracks cases involving child
abuse and domestic violence cases.

> The Firearms Trafficking Unit investigates and prosecutes individuals and criminal
organizations involved in illegal firearms dealing and importation.

> The Identity Theft Unit investigates and prosecutes individuals and organizations involved in -
identity theft.

> The Homicide Investigations Unit works with investigators to target gangs who commit
multiple homicides, especially those that are drug-related.

> The Public Assistance Fraud Unit works with city investigators to uncover and prosecute
public assistance fraud.

> The Sex Crimes Unit investigates and prosecutes cases of rape, sodomy, and sexual abuse.

> The Spanish Language Program has a bilingual staff. It is available to act asa consultant on
cases with Spanish-speaking witnesses and offers translating and interpreting services to the
office.

> The Special Litigation Bureau handles post-judgment proceedings involving individuals found
not responsible by reason of a mental disease or defect and other legal matters including
extraditions; subpoena and discovery requests by outside attorneys and agencies where the
District Attorney is not a party; FOIL requests; and civil eviction matters. The bureau also acts
as a consultant to assistant district attorneys from the Trial and Investigation Divisions handling
cases with psychiatric defenses.

» The Vehicular Crimes Unit oversees and provides support in the prosecution of Driving
While Intoxicated and related homicide and assault cases as well as unlicensed drivers or
drivers whose privileges have been suspended or revoked.

Legal Staff Training is responsible for training assistant district attomeys in all legal areas.
Assistant district attorneys may earn CLE credit by attending the programs they offer because the
office is a certified CLE provider. The unit provides orientation for the new class of assistant district
attorneys, as well as on-going lectures and training programs for the legal staff. Among the
programs are the new legal staff orientation program, grand jury training, the trial advocacy program,
and a lecture series on a wide variety of topics.

Trial Division Support Services

A number of units provide services and support for the Trial Division. They are described below:
> Complaint Room Complex is responsible for processing all arrests.

> Drug Treatment Alternative Program refers non-violent drug addicted felons to residential

 
Case 1:15-cv-04399- -
GBD-HBP Document 1-5 Filed 06/08/15 Page 12 of 20
treatment programs in lieu of prison, monitors their progress, and reports to the sentencing court.

> Grand Jury Stenographers record grand jury testimony and transcribe the minutes of that
testimony upon request.

> Prosecution Support Services processes all cases, assigns misdemeanor cases to Criminal Court
assistant district attorneys in the trial bureaus and provides a variety of support services on
misdemeanor cases. Within this unit are:

 

© Alternative Sentencing controls and monitors defendants who receive community service
sentences.

e Central Services manages the records of decline prosecutions, manages and operates the
defendant photo imaging system, processes extradition requests; orders lab reports, Dwi
reports, ballistic reports, and death certificates; and tracks motions, medical records, and civil
subpoenas.

e Midtown Court manages the operation of Midtown Court.

e Open Cases maintains all pending Criminal Court case files and coordinates record-keeping
functions that support the Trial Division. Some of their additional responsibilities include
staffing all Criminal Court parts with calendar aides and receiving and distributing motions
and lab reports.

y» Visual Evidence Unit:
« Engineering prepares scale diagrams of crime scenes.
e Photography photographs crime victims, evidence, and crime scenes.

e Video videotapes and preserves statements from defendants and witnesses and videotapes
crime scenes; performs video analysis, including enhancement and clarification of audio
and video media, recovery of video evidence from surveillance systems, and duplication
of all types of visual media.

> Witness Aid Services Unit (WASU) assists and guides crime victims and witnesses through
each stage of the prosecutorial process. WASU's objectives are to provide a variety of
specialized services to aid crime victims. The Hispanic Services Program provides Spanish-
speaking staff for counseling and social service functions outlined below. For more detailed
information about services and how to access them, contact WASU directly. The divisions

— within WASU are described below:

e Counseling provides therapeutic counseling on an individual and group basis to victims,
witnesses, and their families.

s Notification is responsible for informing and scheduling witnesses” participation on
Criminal Court cases. They also work closely with victims who are being intimidated.

iv

 

 
  

4399-GBD-HBP. Document 1-5 Filed 06/08/15 Page 13 of 20

 

Victim Assistance Center assists victims on recent arrests, Desk Appearance Tickets, and
on cases that are further along in the process.

criminal activities,

» The Laber Racketeering Unit ‘Construction Industry Strike Force targets labor racketeering
cases and corruption cases in-the real estate and construction industry.

> The Frauds Bureau specializes in investigation of complicated economic crimes such as
securities fraud, money laundering by banks, commercial fraud, computer crimes, and municipal
fraud.

> The Money Laundering and Tax Crimes Unit prosecutes tax fraud, money laundering, and
related cases,

> The Official Corruption Unit handles corruption cases involving public officials and police
officers.

arson, consumer fraud, bribery, embezzlement, trademark infringement, stolen property, and
fencing operations, Often, the most junior attomeys in the division are assigned to the bureau
and the investigations tend to be more short-term than the investigations handled by other
Case 1:15-cv-04399-GBD-HBP Document 1-5 Filed 06/08/15 Page 14 of 20

bureaus and units in the division. In addition, the Elder Abuse Program is a special unit within
the bureau that focuses on financial crimes committed against the elderly. Also within the
bureau is the Immigrant Affairs Program which is responsible for the investigation and
prosecution of frauds committed against Immigrants. -

Investigation Division Support Services

The following units of detectives, investigators, and accountants provide investigative support for
assistant district attomeys. Although they primarily work with assistant district attorneys in the
Investigation Division, they also work with assistant district attorneys in the Trial Division on
occasion.

> The District Attorney’s Office Squad is a New York City Police Department unit under the
supervision of the department’s Chief of Detectives. They conduct sophisticated and sensitive
investigations into organized crime, official corruption, labor racketeering, frauds, and other
crimes. Among other responsibilities, they execute eavesdropping warrants, conduct physical
surveillance, perform extraditions, and guard material witnesses. In addition, they perform
undercover investigations. ,

The Squad’s technical branch, the "Wire Room," maintains an inventory of electronic equipment.
They also prepare high-speed reproduction of audiotapes and prepare recorders for playback at
trials.

_ > Financial Crimes is staffed with accountants and financial analysts who assist the legal staff by
conducting financial investigations relating to allegations of bribery, fraud, embezzlement, and
organized crime.

> The Investigation Bureau is staffed by District Attorney Investigators who investigate fraud,

official corruption, organized crime, and other criminal matters for the Investigation and Trial

Divisions. The investigators, who are police officers, are also called upon to investigate

allegations of police brutality or other misconduct. Among the areas of responsibility are

conducting in-house lineups, maintaining a NYSPIN Intelligence Computer Terminal

= maintaining all electronic surveillance orders, recordings and videotapes, and handling office
security.

Internal office security is handled by security officers, a group within the Investigation Bureau.
A District Attorney investigator supervises the security officers.

Appeals Bureau

The Appeals Bureau handles all of the office’s appellate work. Assistant district attorneys in the
bureau file briefs and argue appeals in all state and federal courts. Because of the Manhattan.
location and the large number of appeals, bureau members play a prominent role in precedent-setting
litigation that shapes the body of criminal law in New York.

The expertise and reputation of the bureau results in its members being asked to appear as amicus

vi

 
 

curiae in significant cases in which the office would not otherwise be a party. Appeals Bureau
tttorneys also shape the law by selecting and pursuing appeals in which the state is the appellant and
by drafting proposed legislative amendments.

SERC's cxignigal anneal tha Annaals Rurean hondlas office calatad ainil itiaation
in both the federal and ate coumte on ais, the Appeals Bureau handles office-related civil litigation
Assistant district attomeys in the Peay aes pein ‘the Us red Seat and civil rights actions

_ ne gue before the United States C .
Second Circuit and frequently litigate in both state and federal trial courts. Attomeys i the bureen

review eavesdropping applications that are to b i
Special Narcotics Prosecutor. ¢ submitted by the office or by the Office of the

Office of the Special Narcotics Prosecutor

The Office of the Special Narcotics Prosecutor was created in 1971 pursuant to the New York State
Judiciary Laws. The enabling legislation mandates the five District Attorneys to establish the Office
of the Special Narcotics Prosecutor, an office with citywide jurisdiction. It is the only office in the
country exclusively dedicated to the prosecution and investigation of narcotics felonies. Since its
inception, the office has worked with city, state, and federal members of the drug enforcement
community to develop and implement multi-faceted approaches to investigating and prosecuting

narcotics trafficking and attendant crime.

~ The Special Narcotics Prosecutor is appointed by the five District Attorneys and the legal staff of the
office is drawn from all five offices. The majority of the staff is composed of assistant district
attorneys from the New York County District Attorney's Office.

The Trial Division, composed of three trial bureaus, prosecutes the majority of the felony drug
complaints referred to the office. The bulk of these cases are the result of the law enforcement
operations aimed at street-level drug activity and investigations of mid-level dealers. Assistant
district attorneys work on cases with local, state, and federal law enforcement agencies.

The Special Investigations Bureau (SEB) oversees complex, long-term investigations that target
large-scale drug trafficking organizations distributing heroin and cocaine to New York City and other
parts of the United States. Electronic surveillance has been among the tools used effectively by SIB
in their investigations. Investigations conducted by SIB have resulted in the seizure of substantial
quantities of narcotics. In addition, they have accumulated crucial intelligence on how international
criminal organizations work, including the means of bringing drugs into the United States; the
manner in which they control and direct the activities of narcotics cells in this country; the extent to
which they are willing to use violence; and the schemes they employ to launder the proceeds from

narcotics transactions.

Operations

ns is responsible for a wide range of administrative services, including the daily

| Operatio
nt of the office’s physical plant. The units within Operations are:

manageme.
> Facilities Design is responsible for office design and furniture standards.

vil

 
 

Case 1:15-cv-04399-GBD-HBP Document 1-5 Filed 06/08/15 Page 16 of 20

> Interpreter Services provides interpreters for grand jury proceedings, in-house interviews, and

>

>

>

transcriptions for languages other than Spanish.

Facilities Management handles renovation and other construction projects, general cleaning of
offices and public areas, and general maintenance including office moves. This unit supplements -
the services provided by the Department of City-wide Administrative Services, the city agenc,
which has primary responsibility for cleaning and maintaining city buildings. In addition, the unit
is responsible for maintaining office copiers, x-ray machines, and fax machines.

Communication manages the telephone and voice mail service, including cell phones and
blackberries.

Purchasing is responsible for purchasing goods and services for the office.

Human Resources

Wuman Resources is responsible for all personne! and payroll functions. The units within Human
Resources are:

>
>

Benefits assists employees with the benefit programs offered by the City of New York.

Employee and Labor Relations is responsible for the Office’s policy and collective bargaining
administration, disciplinary procedures, staff grievances and dispute resolution procedures.

Payroll Services maintains payroll and tax information as well as employee salary and leave.
status. Itis responsible for entering that information in the New York City Automated Person.
System (NYCAPS).

Recruitment is responsible for overseeing the hiring and employment requirements of suppot
staff employees.

Support Staff Training is responsible for assessing training needs of the support staff and
providing that training. .

Timekeeping is responsible for oversight of the City Time automated timekeeping system.

Records Management

¥

>

Imaging is responsible for scanning Criminal Court files and other materials.

Mail/Messenger Unit is responsible for pick-up and delivery of mail both intra-office as well as
mail to be delivered to the US Post Office.

Records is responsible for storage and retrieval of closed cases.

Reproduction is in charge of reproduction of large volume office materials.

vill

 
 

Case 1:15-cv-04399-GBD-HBP Document 1-5 Filed 06/08/15 Page 17 of 20

Fiscal

The Fiscal Deparmem is responsible for managing the office’s financial resources. Among the
responsibilities are preparing ancl monitoring the office’s budget, auditing payroll, purchasing
expenditures, and al! state and federal grants; authorizing and preparing disbursements for requested
services, equipment, ami msterial: reimbursing staff for approved out-of-pocket expenditures; and
making all travel arranzemen:s.

 

Information Technology

Information Technology (IT) is responsible for all of the office’s computer services. The six units
within IT are described below,

>» Administration Procurement and Inventory is in charge of purchasing, inventory
management, and new PC installations and upgrades.

» Case Support Services maintains and manages all case data and assignments, DANY Case
Search, Indictment Processing System, and the matter lists in the Workbench. They also
maintain support for outside city systems including CACS, Department of Motor Vehicles,
eJustice, and CRIMS.

» Computer Service Center is responsible for staffing the Help Desk, providing support for
office computer systems, and conducting in-house training.

> Development researches and documents the requirements of all new computer systems and
develops new applications.

» Investigative Support Services:

Computer Forensics acts as a consultant on search warrants for computer equipment
and extracts electronic evidence from seized computers.

* Information Services conducts background investigations of witnesses and
organizations using a wide range of computer databases.

" Telephone Analysis processes and analyzes subpoenaed telephone data.

» Network Services is responsible for managing the office’s computer network.
ge 18 of 20

 

OFFICE OF THE DISTRICT ATTORNEY
NEW YORK COUNTY

EQUAL EMPLOYMENT OPPORTUNITY AND
SEXUAL HARASSMENT POLICIES AND
PROGRAMS

REASONABLE ACCOMMODATION POLICY
AND PROCEDURES

AMERICANS WITH DISABILITIES ACT
GRIEVANCE PROCEDURES

 

September, 2013

 
 

5 Filed 06/08/15 Page 19 of 20

HBP Document 1-

cv-04399-GBD-

Case 1:15

SaHNdSa900U"d AONVARIND
LOV SALLPTIGVSIC HLIM SNVOIYNSNY

 

SAWNdS00dd INV
AQMOd NOILVOGONWOOOV SIEVNOSV4aY

 

SAVHDOdd
ONV SSIOM0d INSWSSVYVH WAXss
ONV ALINALYOddO INSNAO Td WNOA

ALNNOS MHOA MAN
AANHOLLVY LOIWLSIG AHL AO 30IdAO

 

 

 
5 Filed 06/08/15 Page 20 of 20

HBP Document 1-

cv-04399-GBD-

Case 1:15

61 TEST TEEPE FTE Ree APART EET T REE Ee ee HHNGHOOUE FONVATRID
LOV SALI inaivsid HALIM SNVORAY ‘AI
Sf oeatede. FORSHEE RSET SEE OME TORAH OTT ESE HELE TEER ERED AMONG Od any

AGT1Od NOLLVOOWAODDV TIAVNOSVaAE TH

elo" GOW TDTHOM TALL Ni UNSIASSVUVH TVAXgs
ONILNGADNd NO LNGWALVLS AOTTOd “TH

[Petree CHLLVOINQWINOD Tq TIA AVvaDoud
Ota THLAO SINAIOONd ANV STVOD AHL MOY pT

fp ir rrererteenetiec rae carannscrnnnesee cena aneas ener eantare tie WVYOOUd OFA

SH. ONLINS AS IAYT YOd SALLYTIGISNOdST SY SHY, ZT

1 PERT T AORTA ATR TE ee ee LD eke ed eee eee Hf “DNVA
“A SORAD AGNYOLLY LOVILSICG WOwd LNAWEALVLS
AOTTOd ALINDLYOddG LNAN AC ING TYNOF” TT

T rr rir err rir i reer e ttt ttre ss eee ooee a ee bedaphebaeeoease WVNIONd

ALINNEYOddO INAWAOTWNA TVNOA ‘I

sytia}u0Z) JO a1qu,

 
